     Case 2:90-cv-00520-KJM-SCR        Document 2897       Filed 07/25/08   Page 1 of 3


 1     EDMUND G. BROWN JR.                                   HANSON BRIDGETT LLP
       Attorney General of the State of California           JERROLD C. SCHAEFER - 39374
 2     DAVID S. CHANEY                                       PAUL B. MELLO - 179755
       Chief Assistant Attorney General                      SAMANTHA TAMA - 240280
 3     ROCHELLE C. EAST - 183792                             RENJU P. JACOB - 242388
       Acting Senior Assistant Attorney General              425 Market Street, 26th Floor
 4     LISA A. TILLMAN - 126424                              San Francisco, CA 94105
       Deputy Attorney General                               Telephone: (415) 777-3200
 5     KYLE A. LEWIS - 201041                                Facsimile: (415) 541-9366
       Deputy Attorney General                               jschaefer@hansonbridgett.com
 6     455 Golden Gate Avenue, Suite 11000                   pmello@hansonbridgett.com
       San Francisco, CA 94102-7004                          stama@hansonbridgett.com
 7     Telephone: (415) 703-5677                             rjacob@hansonbridgett.com
       Facsimile: (415) 703-5843
 8     rochelle.east@doj.ca.gov
       kyle.lewis@doj.ca.gov
 9     lisa.tillman@doj.ca.gov
10     Attorneys for Defendants

11                                 UNITED STATES DISTRICT COURT

12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

13                         AND THE EASTERN DISTRICT OF CALIFORNIA

14            UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

15                 PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

16
       RALPH COLEMAN, et al.,                         No. 2:90-cv-00520 LKK JFM P
17
                     Plaintiffs,                      THREE-JUDGE COURT
18
             v.
19
       ARNOLD SCHWARZENEGGER, et al.,
20
                     Defendants.
21

22     MARCIANO PLATA, et al.,                        No. C01-1351 TEH

23                   Plaintiffs,                      THREE-JUDGE COURT
              v.
24                                                    TO: MAGISTRATE JUDGE MOULDS
       ARNOLD SCHWARZENEGGER, et al.,
25                                                    STIPULATION AND PROPOSED ORDER
                                                      REGARDING EXPERT DISCOVERY AND
                     Defendants
26                                                    EVIDENCE

27           Counsel for Defendants Arnold Schwarzenegger, et al., and counsel for Plaintiffs
28
                                                     -1-
       JOINT STIP. RE EXPERT DISCOVERY AND EVIDENCE
                                                                                          1568425.1
       CASE NOS. 01-1351; 2:90-0520
     Case 2:90-cv-00520-KJM-SCR        Document 2897        Filed 07/25/08    Page 2 of 3


 1     Marciano Plata, et al., met and conferred regarding the various scheduling conflicts

 2     facing their respective experts. Defendants’ expert, Dr. Thomas, has scheduling

 3     conflicts, including important medical appointments, that will prevent Dr. Thomas from

 4     inspecting prison facilities before the end of August. A copy of Dr. Thomas’ schedule for

 5     August 2008 is attached as Exhibit A. Dr. Thomas is, however, available to tour prisons

 6     during the first week of September. Plaintiffs’ expert, Dr. Krisberg, has another

 7     commitment that prevents him from completing his expert report by August 15, 2008.

 8             Accordingly, after meeting and conferring, the parties hereby stipulate to the

 9     following regarding expert discovery and evidence:
10             Dr. Thomas will be permitted to inspect CDCR institutions up to and through

11     September 8, 2008. Dr. Thomas may rely on evidence from these inspections in forming

12     his opinion, including in his supplemental expert report, and Defendants may introduce

13     evidence at trial that was obtained during these inspections. Plaintiffs will be entitled to

14     present rebuttal evidence of prison conditions during the same period.

15             Dr. Thomas’ supplemental expert report will be due on or before September 19,

16     2008.

17             Dr. Krisberg’s supplemental expert report will due on or before September 8,

18     2008.

19             IT IS SO STIPULATED.
20     DATED: July 25, 2008                          HANSON BRIDGETT LLP
21                                               By: /s/ Paul Mello
                                                    PAUL MELLO
22                                                  Attorneys for Defendants Arnold
                                                    Schwarzenegger, et al.
23
       DATED: July 25, 2008                          PRISON LAW OFFICE
24
                                                 By: /s/ Alison Hardy
25                                                  ALISON HARDY
                                                    Attorneys for Plaintiffs Marciano Plata, et al.
26

27

28
                                                   -2-
       JOINT STIP. RE EXPERT DISCOVERY
                                                                                             1568425.1
       CASE NOS. 01-1351; 2:90-0520
     Case 2:90-cv-00520-KJM-SCR     Document 2897     Filed 07/25/08    Page 3 of 3


 1           Pursuant to the foregoing stipulation, IT IS SO ORDERED:

 2
       DATED: ________________               ______________________________________
 3                                           Magistrate Judge John Moulds
                                             United States District Court
 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                              -3-
       JOINT STIP. RE EXPERT DISCOVERY
                                                                                      1568425.1
       CASE NOS. 01-1351; 2:90-0520
